                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                            *       CIVIL ACTION NO. 21-80

VERSUS                                       *       SECTION “D” (2)

SHERIFF JOSEPH P, LOPINTO,                   *       Judge Wendy B. Vitter
III, ET AL.                                          Magistrate Judge Donna P. Currault

                     Order on Plaintiffs’ Motion for Spoliation Sanctions

       After consideration of Plaintiffs’ Motion for Spoliation Sanctions, the Motion is

GRANTED. The Court finds that Defendant Lopinto, in his official capacity as Sheriff of Jefferson

Parish, (1) had a duty to preserve disciplinary records; (2) culpably breached that duty; and (3)

caused prejudice to Plaintiffs.

       The Court therefore orders the following remedies:

   1. Defendants are prohibited from putting on any positive evidence at trial from their
      personnel file;

   2. The jury will be instructed that Defendant Joseph Lopinto, in his official capacity,
      destroyed evidence despite having a legal obligation to preserve it, and despite being
      ordered by a court to preserve it.

   3. The jury will be instructed that Defendant Joseph Lopinto, in his official capacity, has a
      practice of preserving positive information about officers but illegally destroying negative
      information about officers.

   4. The jury will be instructed that they can draw an adverse inference against Defendant
      Joseph Lopinto, in his official capacity, due to the destruction of evidence.

Plaintiffs are entitled to reasonable attorneys fees for this motion. They are to confer with

Defendants about the quantum of those fees. If agreement cannot be reached, Plaintiffs will file a

fee petition with this Court. SO ORDERED

                                                            _____________________
                                                            JUDGE



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